         Case 3:09-cr-00427-JAG Document 464 Filed 07/09/12 Page 1 of 1
                                                                                      Time set: 5:00 PM
                                                                                     Start time: 5:16 PM
                                                                                     End time: 5:23 PM


                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


MINUTES OF PROCEEDINGS:

HONORABLE JOSE A. FUSTE, U.S. DISTRICT JUDGE                            Date: July 9, 2012

COURTROOM DEPUTY: Diana Villavicencio                                  Crim. 3:09-cr-427 (JAF)

COURT REPORTER: Amy Walker

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      USA                         Attorneys: Jose Contreras
           v.

       Alexis Candelario-Santana (1)        Francisco Rebollo-Casalduc
                                            David Arthur Ruhnke
     Carmelo Rondon-Feliciano (2)           Miguel Oppenheimer
     Wilfredo Candelario-Santana (4)        Rafael Anglada-Lopez
     David Oquendo-Rivas (5)                Jose R. Aguayo
                                            Steven Potolsky
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       CASE CALLED FOR STATUS CONFERENCE.
       As to Defendant # 1 Alexis Candelario-Santana, the Government filed a Notice of
Intent to seek the Death Penalty. As to Defendant # 5 David Oquendo-Rivas, the Government
informed that they will not seek the death penalty.
       The Court discussed the Order entered as to Defts. # 1 and # 5 (dkt. 462). Atty. Aguayo
requested that Mr. Potolsky be allowed to continue representing the defendant. Overruled.
       The parties will submit a final proposed schedule, including deadlines for pretrial motions
on or before July 25, 2012.
       Further Status Conference set for August 6, 2012 @ 4:00 PM.




                                                            s/ Diana Villavicencio
                                                            Diana Villavicencio
                                                            Courtroom Deputy Clerk
